  Case: 1:06-cr-00923 Document #: 1246 Filed: 11/01/16 Page 1 of 2 PageID #:6718




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
                Plaintiff,                   )
                                             )   Case No. 06 CR 923-2
        v.                                   )
                                             )   Judge John W. Darrah
 RAIMONDORAY CERNA,                          )
                                             )
                Defendant.                   )

                                            ORDER

       Defendant Raimondoray Cerna filed a pro se Motion to Reduce Sentence Pursuant to

18 U.S.C. § 3582(c)(2) [1242]. Defendant’s Motion [1242] is denied.

                                         STATEMENT

       On October 10, 2007, Defendant pled guilty to two counts of wire fraud under 18 U.S.C.

§ 1343. On June 15, 2010, Defendant was sentenced to 180 months’ imprisonment.

       The Sentencing Commission promulgated Amendment 791, which, among other things,

amended the sentencing calculations for loss amounts under U.S.S.G. § 2B1.1(b)(1) to account

for inflation. Amendment 791 had an effective date of November 1, 2015. Defendant was

sentenced on June 15, 2010; and his sentence was affirmed by the Seventh Circuit on

April 12, 2012. “A federal prisoner whose sentence has become final cannot take advantage of a

later amendment to the guidelines unless it is included in the list of retroactive amendments

found in Section 1B1.10(c) of the sentencing guidelines regardless whether the amendment is

substantive or clarifying.” United States v. Johns, 347 F. App’x 240, 242 (7th Cir. 2009) (citing

18 U.S.C. § 3582(c)(2); U.S.S.G. § 1B1.10(a); United States v. McHan, 386 F.3d 620, 622 (4th

Cir. 2004); United States v. Lykes, 73 F.3d 140, 143 (7th Cir. 1995)). Defendant’s sentence was
  Case: 1:06-cr-00923 Document #: 1246 Filed: 11/01/16 Page 2 of 2 PageID #:6719




final before the effective date of Amendment 791, and Amendment 791 is not on the list of

retroactive amendments. Therefore, this Court has no authority to reduce Defendant’s sentence

pursuant to Amendment 791. See Dillon v. United States, 560 U.S. 817, 824-25 (2010) (holding

that courts lack authority to reduce otherwise final sentences based on sentencing ranges that

have subsequently been lowered by the Sentencing Commission pursuant to an amendment

unless the Sentencing Commission also makes the application of the amendment retroactive).

                                        CONCLUSION

        For the reasons discussed above, Defendant’s Motion to Reduce Sentence Pursuant to

18 U.S.C. § 3582(c)(2) [1242] is denied.


Date:          November 1, 2016                        /s/
                                                             John W. Darrah
                                                             U.S. District Court Judge




                                                2
